Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 1 of 11 PageID #: 631




                               EXHIBIT V
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 2 of 11 PageID #: 632




  July 17, 2014

  Town Supervisor Tom Croci
  Town Hall
  655 Main St
  Islip, New York 11751
  Via email: supervisorsoffice@townofislip-ny.gov

  Dear Supervisor Croci:

  We are writing to follow up on New York Lawyers for the Public Interest’s request for a copy of
  Enviroscience Consultants’ June 3 report on soil and water contamination at Roberto Clemente Park.

  As mentioned during the public comments at this week’s Town Board meeting, we filed a Freedom of
  Information Law application on July 9, 2014, requesting (among other documents) all available
  environmental investigation reports on Roberto Clemente Park. At the Town meeting, you pledged
  transparency for community residents seeking to understand the contamination risk and cleanup plans
  for the park. You also suggested that we follow up with Town personnel about getting a copy of the
  Enviroscience study, which we learned about from reporting in Newsday.

  Unfortunately, we have still not been able to get a copy of this report. NYLPI spoke with staff in the
  Town Attorney’s office, who suggested following up with the Clerk’s office. The Clerk’s office could not
  find our original FOIL request. (We have attached a copy of that FOIL request, along with the fax receipt
  showing delivery on July 9, 2014.) NYLPI filed a new FOIL request (also attached), and spoke with the
  Town’s Constituent Services office, but were told that we should not expect a copy of this report for at
  least 20 business days.

  If the Town of Islip is truly committed to public participation in this investigation and cleanup process,
  then residents should not have to wait for a copy of this report. The study has already been reviewed by
  the news media; Brentwood residents who live near the park should have the same opportunity.

  Therefore, we are asking again for your office to provide this study immediately to our organizations,
  and to make it available to all Islip residents on the Town’s website. We also ask you to publish all
  future studies and cleanup planning documents on the Town’s website as they become available, so
  that these requests will no longer be needed.

  Thank you for your assistance with this matter. Please contact NYLPI (at mladov@nylpi.org or 212-244-
  4664) with any follow-up questions or to send a copy of the requested report.
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 3 of 11 PageID #: 633




  Sincerely,

  Mark Ladov,
  Staff Attorney, Environmental Justice Program
  New York Lawyers for the Public Interest



  Daniel Altschuler,
  Long Island Coordinator,
  Make the Road New York



  Lucas Sanchez,
  Long Island Director,
  New York Communities for Change
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                             Attachment A:
                    July 9, 2014 FOIL Request
  Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 5 of 11 PageID #: 635

N Y L P I                                                                                                 New York Lawyers
                                                                                                          For The Publiclnterest, Inc.
                                                                                                          151 West. 30th Street 11th Floor
                                                                                                          New York, NY 10001-4017
                                                                                                          Tel 212-244-4664 Fax 212-244-4570



 Fax
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     To:        FOIL Officer                                       From:      Benjamin Barczewski

     Fax:      631-224-5574                                        Pages: [no of pages]

      Phone:                                                       Date:      7/9/2014

      Re:       FOIL Request                                       CC:


      D Urgent          D For Review            D Please Comment              D Please Reply           D Please Recycle



      • Comments:




                                                    CONFIDENTIAL NOTICE:
      This facsimile transmission is intended only for the use of the individual or entity to which it is addressed, and may
      contain confidential infonnation belonging to the sender, which is protected by law, and/or by attorney-dient
      privilege. If you are not the intended recipient, you are hereby notified that any disdosure, copying, distribution or
      the taking of any action in reliance on the contents of this infonnation is strictly prohibited. If you have received this
      transmission in error, please immediately notify us by telephone to arrange for the return of the documents.
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 6 of 11 PageID #: 636



                     TOWN CLERK                                                                             FOIL OFFICER




                   Date stamp here:                                                                       Date stamp here:



     Freedom of Information Law Application (F.0.1.L.)-Application for Access to Public Records
     Instructions: Complete the Section 1 and submit to Office of Town Clerk, 655 Main Street, Islip New York 11751 (/) 631-224-5574
                                             PLEASE TYPE OR PRINT CLEARLY
                                               SECTION 1-TO BE COMPLETED BV APPLICANT
                               I HEREBY APPLY TO REVIEW OR COPY THE RECORD(S) DESCRIBED BELOW:
   1.NAME OF APPLICANT:                                                   5. MAILING ADDRESS [include suite if applicable):

    Mark Ladov and Benjamin Barczewski                                   151 West 30th Street, 11th Floor
   2. NAME OF BUSINESS FIRM:                                              6. CITY:                   7. STATE:            8. ZIP CODE:
                                                                                     New York                    NY       10001-4007
     New York Lawyers for the Public Interest
                                                                          9. DATE OF APPLICATION:
                                                                            July 09, 2014

                                                                          10. DEPARTMENT IF KNOWN:

    212-244-4664
   DESCRIPTION OF RECORD SOUGHT TO INSPECT AND ANY SPECIAL INSTRUCTIONS. Please describe the
   record(s) sought in as specific detail as possible with, address, date or time frame, if applicable. If we
   cannot determine what record(s) you seek your application will be denied. Under the NYS FOIL the
   Town of Islip is only required to supply DOCUMENTS THAT ALREADY EXIST (NYS POL Article 6).

  Any records related to the dumping of construction debris and other materials from approximately April 2013 to June
  2014 at: (1) Roberto Clemente Park in Brentwood, Long Island; (2) a housing development for veterans in Islandia,
  Long Island; (3) a protected wetlands in Deer Park, Long Island; and (4) the Suffolk PAL fields at Clayton and Powell in
  Islip, Long Island, including, but not limited to, test results of soil, air, and water for each site, and any remediation
  plans for each site respectively

   We request that records be provided electronically and via email to mladov@nylpi.org and bbarczewski@nylpi.org to
   the extent possible. If that is not possible, please contact us prior to printing or copying records.

   We look forward to hearing from you within five (5) business days. Thank you in advance for your time and assistance.




                              SECTION 2- TO BE COMPLETED BY AGENCY RECORDS ACCESS (FOIL) OFFICER
   Receipt of this request is hereby acknowledged. Please allow Twenty (20) business days for processing
   before contacting this office. A copy of this form Is being mailed to you Indicating your request is
   being processed.



         Date                                                   Records Access Officer                   Application Number

   Office of Constituent Services, 655 Main Street, Islip New York 11751                            631-224-5380

   PLEASE NOTE: The Public Officer's Law requires that a municipality acknowledge receipt of a FOIL request within five (5) business days.
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 7 of 11 PageID #: 637



   Application Number                                                     I AGENCY USE ONLY
                                             FOR AGENCY USE ONLY BELOW
                                          SECTION 3- NOTICETO APPLICANT
                                                 DEPOSIT REQUIRED

    o A deposit in the amount of$                 is required before we can continue to process your FOIL
      application, as it is voluminous. Please forward a check payable to "Town of Islip" in the deposit
      amount to Records Access Officer, Constituent Services, 655 Main Street, Islip, New York 11751.
      For questions, please call 224-5380.

                                                RECORDS PROVIDED:

    o The records have been fully provided.           o The records have been partially provided or redacted.

     o The document(s) you requested are available. The cost of reproduction is$ _ _ _ _ _ _ __
        Please bring your cash, check or money order payable to the "Town of Islip" and submit to Town of
   lslip--Town Clerk's Office, 655 Main Street, Islip, NY 11751.
     o Please call 631-224-5380 to schedule an appointment to view documents.
     o Redaction fee due$                    at time of appointment


                          RECORDS DENIED, PARTIALLY PROVIDED OR REDACTED
   o Request needs to be more specific because cannot          o Are trade secrets or commercial enterprise
      determine what record(s) you seek                          documents which if disclosed would cause injury to
   o Records not possessed by the Town of Islip                  the competitive position of the subject enterprise
   o After diligent search, there are no known documents       o Complainant's name cannot be disclosed pursuant
     that are responsive to your request                         to the Public Officers Law Article 6A and Sec. 89-
   o Municipalities are not required to respond to questions     2(a)
      or inquiries, only to provide documents                  o Would endanger the life or safety of any person
   o Exempted by statute other than the Freedom of             o Municipalities are only required to search for
     Information Law                                           specific documents requested
   o Unwarranted invasion of personal privacy                  o Exempt inter-agency or intra-agency materials
   o Would impair present or imminent contract awards          o Exempt examination questions or answers
      or collective bargaining negotiations                    o Other
   o Law Enforcement records


   Name of Records Access Officer:        Records Access Officer's Signature:   Date:




   This Freedom of Information Request will remain on file for six (6) months from the date of final
   determination. Thereafter it will be destroyed.


   NOTICE: You have the right to appeal a denial of this application to Ernest J. Cannava, Senior Assistant
   Town Attorney, tslip Town Hall, 655 Main Street, Islip, NY 11751. You are entitled to an explanation of
   the reason for such denial in writing within ten (10) days of receipt of the appeal.


   I hereby appeal:
                                        Signature                                  Date
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 8 of 11 PageID #: 638

                       TRANSMISSION VERIFICATION REPORT

                                                          TIME    07/09/2014 15:58
                                                          NAME    NVLPI
                                                          FAX     2122444570
                                                          TEL     2122444654
                                                          SER.#   BROL 7J728470


     DATE,TIME                             07/09 15:58
     FAX NO. /NAME                         915312245574-171
     DURATION                              00:00:24
     PAGE(S)                               03
     RESULT                                OK
     MODE                                  STANDARD
                                           ECM
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 9 of 11 PageID #: 639




                             Attachment B:
                   July 15, 2014 FOIL Request
Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 10 of 11 PageID #: 640



                      TOWN CLERK                                                                               FOIL OFFICER

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                 JUL 1 5 2014

   TOWN C~~~fj~FFICE                                                                                        Date stamp here:



       Freedom of Information Law Application (f.0.1.L.)-Application for Access to Public Records
       Instructions: Complete the Section 1 and submit to Office of Town Clerk, 655 Main Street, Islip New Yark 11751 (I} 631·224-5574
                                              PLEASE TYPE OR PRINT CLEARLY
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                                 I HEREBY APPLY TO REVIEW OR COPY THE RECORD(S) DESCRIBED BELOW:
    l.NAME OF APPLICANT:                                                    5. MAILING ADDRESS (include suite If applicable):

     MO\r ~           L Dl ~cv'
    2. NAME OF BUSINESS FIRM:
                                                                            /5"(
                                                                            6.CITY:
                                                                                         v-t • 1()~          S\- \l ;-,.,
                                                                                                       7.STATE:
                                                                                                                                rt
                                                                                                                            8.ZIPCODE:

                                                                                                                            (OOD\
    3. SIGNATURE OF APPLICANT:

                                2----
    4. TELEPHONE NUMBER:

       ~l?.. - '2'-tc.t- Y.Cot>
    DESCRIPTION OF RECORD SOUGHT TO INSPECT AND ANY SPECIAL INSTRUCTIONS. Please describe the
    record(s) sought in as specific detail as possible with, address, date or time frame, if applicable. If we
    cannot determine what record(s) you seek your application will be denied. Under the NYS FOIL the
    Town of Islip is only required to supply DOCUMENTS THAT ALREADY EXIST {NYS POL Article 6).



   >

                                                                 FEE SCHEDULE
    Be advised there is a statutory fee due ($.25 per page, not in excess of 9x14) for copies; For anything
    else, including digital formats, cost of reproduction will be charged. Deposits mciy be required for
    voluminous requests. Copy fees are to be paid for any pages required to be redacted prior to viewing a
    file. FOIL requests will not be processed for any person or company who fails to pay any outstanding
    FOIL fees due for a prior FOIL request. Copies will be prepared unless specifically requested otherwise.

                              SECTION 2- TO BE COMPLETED BY AGENCY RECORDS ACCESS (FOIL) OFFICER
    Receipt of this request is hereby acknowledged. Please allow Twenty (20) business days for processing
    before contacting this office. A copy of this form is being mailed to you indicating your request is
    being processed.


          Date                                                  Records Access Officer                     Application Number

   Office of Constituent Services, 655 Main Street, Islip New York 11751                            631-224-5380

   PLEASE NOTE: The Pub/le Officer's Law requires that a municipality acknowledge receipt of a FOIL request within five (5) business days.



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Case 2:18-cv-03549-GRB-ST Document 39-22 Filed 03/01/19 Page 11 of 11 PageID #: 641


Application Number                                                      I    AGENCY USE ONLY


                                          FOR AGENCY USE ONLY BELOW
                                       SECTION 3- NOTICE TO APPLICANT
                                             DEPOSIT REQUIRED

  o A deposit in the amount of$                 is required before we can continue to process your FOIL
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                                             RECORDS PROVIDED:

 o The records have been fully provided .          o The records have been partially provided or redacted.
               . .
 o The documentfs) you requested are available. The cost of reproduction is$.         ·       ..  '
     Please bring your cash, check or money order payable to the "Town of Islip" and submit to Town of
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  o Please call 631-224-5380 to schedule an appointment to view documents.
  o Redaction fee du,e $                  at t_ime of appointment


                       RECORDS DENIED, PARTIALLY PROVIDED OR ~EDACTED
o Request needs to be more specific because cannot          o Are trade secrets or commercial enterprise
   determine what record(s) you seek                          documents which if disclosed would cause injury to
o Records not possessed by the Town of Islip                  the competitive position of the subject enterprise
o After diligent search, there are no known documents       o Complainant's name cannot be disclosed pursuant
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o Municipalities are not.requi~ed to respond to questioris • 2(a) .          · .-          ,
   or inquiries, only to provide documents                  o Woujd.entjanger the life-opafety ofar:iy person
o Exempted bystat4~e/ot~er tban the .Freedom, of ·"       . o. Municipalities are only required to search for
   Information Law          .. · ..  '       ...·.          spec.itic docurrie~ts r~quested · . .   , ·. . . '.
o Umivahanted invasion ·of personal privacy· .              o Exempt inter-agency or intra 0 agency materials
o Would impair present or imminent contract awards          o Exempt examination questions or answers
   or collective bargaining negotiations                    o Other
o Law Enforcement records


Name of Records Access Officer:      · Records Access Officer's Signature:      Date:




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I hereby appeal:
                                     Signature                                     Date
